     Case 2:08-cr-00311-MMD-GWF           Document 355       Filed 09/06/11   Page 1 of 1



 1    LAW OFFICE OF ALEX R. KESSEL
      ALEX R. KESSEL (State Bar No. 110715)
 2    16542 Ventura Blvd.
      Suite 305
 3    Encino, California 91436-2746
      Telephone: (818) 995-1422
 4    Facsimile: (818) 788-9408
      email: kessellaw@sbcglobal.net
 5
 6    Attorneys for Defendant,
      HAGOP PALIKYAN
 7
 8
 9
                                   UNITED STATES DISTRICT COURT
10
                                    FOR THE DISTRICT OF NEVADA
11
12
13    UNITED STATES OF AMERICA                               2:08-CR-311-RLH-GWF
                                                     ) NO.: CR08-311-RLH-GWF-2
                                                     )
14                          Plaintiff                )
                                                     ) ORDER FOR CONTINUANCE OF
15                  vs.                              ) SURRENDER DATE
                                                     )
16    HAGOP PALIKYAN                                 )
                                                     )
17                                                   )
                            Defendant                )
18                                                   )
                                                     )
19                                                   )
20
             GOOD CAUSE APPEARING it is hereby ordered that defendant Hagop Palikyan’s
21
      surrender date is continued to October 21, 2011.
22
23
24
             September 6, 2011
      DATED:____________                         ______________________________
                                                  _____________________________
25                                                UNITEDSTATES
                                                 UNITED   STATESDISTRICT
                                                                  DISTRICT JUDGE
                                                                           COURT JUDGE
26
27
28


                                                         1
